       Case 5:04-cr-00010-MCR Document 129 Filed 10/07/05 Page 1 of 1



                                                                        Page 1 of 1

                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             PANAMA CITY DIVISION


UNITED STATES OF AMERICA

vs.                                         CASE NO.: 5:04cr10/MCR

CECILIA VICKERS
                               /

                          ORDER REDUCING SENTENCE

      Before the Court is the Government’s Rule 35 motion (doc. 128) advising that
a reduction in Defendant’s sentence may be warranted by his cooperation and
substantial assistance since his sentencing. The Court finds that a reduction is
proper to reward his assistance to the Government in the investigation and
prosecution of others.
      Defendant’s sentence of confinement is, therefore, reduced to 38 months. In
all other respects, the original sentence imposed in the Judgment and Commitment
Order filed August 16, 2004, shall remain unchanged.
      ORDERED this 7th day of October, 2005.


                                      s/   M. Casey Rodgers
                                     M. CASEY RODGERS
                                     UNITED STATES DISTRICT JUDGE
